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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        PRETRIAL ORDER NO. 309: ORDER
                                                    GRANTING MONSANTO'S MOTION
   Gannon v. Monsanto Co.,                          TO EXCLUDE EXPERT
   Case No. 3:19-cv-08064-VC                        WOJCIECHOWSKI
                                                    Re: Dkt. No. 19046

       Monsanto’s motion to exclude the testimony of Dr. Brian Wojciechowski is granted. This

ruling assumes the reader’s familiarity with the facts, the applicable legal standard, the prior

Daubert rulings in this MDL, and the arguments made by the parties. See generally In re

Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018) (Pretrial Order

No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp. 3d 956 (N.D.

Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto Company, 997 F.3d
941 (9th Cir. 2021).

       In his opposition, Gannon says “Dr. Wojciechowski is not proffered as a general

causation expert in this matter.” Gannon Opp. (Dkt. No. 19436) at 10. Accordingly, Monsanto’s

motion is granted as to general causation testimony.

       Wojciechowski’s handling of Gannon’s exposure to other pesticides requires the

exclusion of his specific causation testimony as well. In a prior order, the Court allowed a

plaintiff’s expert to testify even though he did not consider that plaintiff’s non-Roundup

pesticide exposure because Monsanto had not presented any evidence those other pesticides had
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an association with NHL. See PTO No. 295 (Dkt. No. 19614). In this case, Wojciechowski

admitted that there is literature linking at least one of the pesticides Gannon used with NHL. See

Wojciechowski Dep. (Dkt. No. 19046-4) at 267:2–11. Wojciechowski claims he did a literature

review about the pesticide (diazinon), but it’s not referenced in his report, and he wasn’t able to

answer basic questions about that literature. See id. at 267:19–268:4. And his explanation that he

didn’t rule in diazinon exposure because Gannon “only used it six times” isn’t sensible without

an explanation of why any carcinogenic effects of diazinon would fall on the same dose-response

curve as the alleged carcinogenic effects of glyphosate. See id. at 267:12–18. In other words,

Wojciechowski’s reasoning is unscientific, and his opinion must be excluded.

       IT IS SO ORDERED.

Dated: February 19, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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